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Tell us about your complaint

Dl

Please select the option that best describes your complaint
Fraudulent investment scheme, such as a Ponzi scheme or the promise of high-yield returns

Provide additional details about your complaint:

County Technical Services, Inc. of Denver, CO, a private corporatiou, is portraying itself as an
intergovernmental agency. lf it was a government agency, its books would be open to the public
for inspection, which they are not. I have examined CTSI‘s over six months ago, and Ifound they
use county taxpayer funds for their capital investment funds in the market, where they purchase
& hold a variety of stocks of other private corporations Following the county CAFR's, we can
see these capital investment funds being paid to CTSI, but no re-entry is shown for the return of
investment profits to the county, or to the taxpayerl For 2013, CTSI registered profits of 336
Million from their capital investments again with no re-entry of these funds, or prolits, making it
back to county treasury. County Technical Services, Inc. does not show up on the SEC's list of
regulated, or self-regulated Insurance Companies, and is, in reality, embezzling county public
funds for its operations of providing fraudulent & evasive risk management services for county

" government employees only! County Technical Services, Inc. employs "elected" County
Commissioners as their "Board of Directors," and these "Board of Directors," a.k.a. "Elected
County Comrnissioners," operate as "Gatekeepers," whose job it is to thwart, deny, reject, and
derail all valid claims against the county, and/or County Technical Services, Inc.. In short1 the
public's money goes in, but nothing comes back out, except for the salaries incomes, perks,
immunities and legal fees absorbed by County Technical Services, Inc, its administration, staff,
members and board of directors According to County Technical Services, Inc. policies,
procedures1 and bylaws, which were, at one time, open for inspection, insisted that "Conflicts of
Interest" were their main concern, and "Conflicts of Interest" would not be tolerated under its
private corporate guidelines Apparently, CTSI has no qualms in violating the State's Election
Laws, which prohibit service by elected public officials These public officials have failed to
fully disclose their positions as Board members of CTSI to the public, which nullifies & voids
their Election to Office, their Oaths of Oftice, and their Bonds! County Technical Services, Inc.
relies on the "allegiance to service " of the elected County Commissioners to insure that no
claims are honored, particularly claims against "public service fidelity/perfonnance/surety
bonds," of government officials lt is common practice for the elected County Commissioners1
and County Technical Services, Inc. to refuse required C.O.R.A. requests on oaths and bond
securities CTSI offers risk management service & public service bonds for county officials,
including securitizing the Oaths of Oftice of county judges who are operating under false &
unlawful Oaths, which were declared crimes in 1803 by the US Supreme Court. CTSI has failed
to disclose the policy numbers for these securitized Oaths, and are in violation of Supreme Law
of Land, as in both the State & Federal Constitutions, including the Original XIII Arnendment,
which prohibits BAR members from holding public office. As a victim of fraud, and having been
denied information, and the ability to file a claim, either through the county, or through County
Technical Services, Inc., I have received a good deal of harassment from CTSI, their officers, the

 

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county commissioners and from law firms hired to represent them. As of late, CTSI, employing
the services of a Grand Junction law firm, Williams, Turner & Holmes, P.C. have sought a
protection order be granted against me. and in favor of CTSI. I am currently registered as
protected witness & informant as Whistle Blower with the SEC, and the IRS, where, I believe,
CTSI was named, and/or identified, against the ABA, and the IMCA. It appears, now,l need the
protection of the SEC from County Technical Services, Inc. and their law iirm. Mr, Allen
Chapman, and his Senior Claims agent, James Adams, along with Montrose County
Commissioner, Gary Ellis, and others, need to be held accountable for their "Continulng
Financial Crimes," "Protections & Racketeering," "Embezzlement," "Election's Fraud,"
"Criminal Impersonation," "Criminal Misrepresentation," "False Information & Hoaxes,"
"Perjury," and a host of other State & Federal violations including harassment & witness
tampering If CTSI was truly a " government agency," why do they find it necessary to retain
private legal counsel to seek an injunctive protection order against me? Why did they not contact
the State Attorney General? If CTSI was truly a " government agency," would this not make Allen
Chapman a "Department Director," rather than President & CEO? lf CTSI was truly a

" government agency," why have they shut down public access to their financial records? If CTSI
was truly a " government agency," why do they post separate & distinct articles of incorporation,
policies procedures, and bylaws, outside of the State, or County mandates, policies &
procedures identiiied in the State's Constitution?

If you are alleging offering fraud, how was the offer made'.’l

Personal message (email, voicemail, phone call)

Are you having or have you had difficulty in getting access to your funds or securities‘.’
Yes

Did you suffer a loss?

Yes

Enter amount of loss to nearest dollar without characters (e.g., 15000, not $15,000.00):
10000000

When did you become aware of the alleged conduct? (mmfddfyyyy)

02/01/2013

When did the alleged conduct begin? (mm/dd/yyyy)

01!01/20()4

Is the alleged conduct ongoing?

Yes

Has the individual or firm acknowledged the alleged conduct?

No

What is the source of your information? You may select more than one

Account Statements; Conversations; Public]y available inforrnation;

Have you taken any action regarding your complaint? You may select more than one
Complained to lirm; Complained to other regulator', Complained to SEC; Complained to law
enforcement;

Who did you contact and what action did you take?

SEC IRS Montrose County Commissioners Montrose County Clerk & Recorder Montrose
County Finance Director Montrosc County Sherift`s Department FBI CBI US Attorney General
Colorado Governor Colorado Senators Colorado House of Representatives Mesa County
Sheriff's Department Traveler‘s Insurance

 

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Who are you complaining about?

Are you complaining about an individual or a firm?

Firm

Select the title that best describes the individual or firm that you are complaining about:
Insurance Company

lf you are complaining about an entity or individual that has custody or control of your
investments have you had difficulty contacting that entity or individual?

Yes

Firm Name:
County Technical Services, Inc.

Street Address:
800 Grant Street
Address (Continued):
Suite #400

City:

Denver

State / Province:
CO

Zip / Postal Code:
80203

Country:

US

Telephone:

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Identitier 'I`ype:

Unknown

Are you or were you associated with the individual or firm when the alleged conduct
occurred?

No

How are you or were you associated with the individual or firm you are complaining about?
A Claimant.

Products involved

Select the type of product involved in your complaint:

Debt Securities (e.g., corporate bonds, municipal bonds)

Please select the category that best describes your security products
Treasury bonds and other U.S. government securities

Enter the product name(s):
Fidelity/Perforrnance/Surety Bonds

About you

*Are you submitting this tip, complaint or referral pursuant to the SEC's whistleblower
program?

Yes

*Are you submitting this tip, complaint or referral anonymously? Being able to contact you
for further information or clarification may be helpful.

No

**Are you represented by an attorney in connection with your submission?

No

Submitter Information

 

CaSe 2217-CV-OlO79-RB-G.]F

Title:

Mr.

**First Name:
Steven

Middle Name:
Duane

**Last Name:
Curry

Street Address:
21250 Dave Wood Road

City:

Montrose

State / Province:
COLORADO

Zip / Postal Code:
81403

Country:

US

Home Telephone:
970-249-8879

Email Address:

cwheileg@ gmail.com
What is the best way to contact you?

Email

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Select the profession that best represents your

Other

About you

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*Are you submitting this tip, complaint or referral pursuant to the SEC's whistleblower

program?
Yes

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*Are you submitting this tip, complaint or referral anonymously? Being able to contact you
for further information or clarification may be helpful.

No

**Are you represented by an attorney in connection with your submission?

No

Submitter Information

Title:

Mr.

**First Name:
Sandra

Middle Name:
Lee

**Last Name:

Tyler

Street Address:

21250 Dave Wood Rd.
Address (Continued):
21250 Dave Wood Road
City:

Montrose

State / Province:
Colorado

Zip / Postal Code:
81403

Country:

United States

Home Telephone:
970 249-8879
Work Telephone:
970 249-8879
Mobile Telephone:
970 249-8879
Other Telephone:
970 249-8879

 

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Email Address:

leetyleer6@ gmail .com

What is the best way to contact you?

Email

Select the profession that best represents you:
Other

Whistleblower Declarations

*1. Are you, or were you at the time you acquired the original information you are
submitting to us, a member, officer, or employee of the Department of Justice, the
Securities and Exchange Commission, the Comptroller of the Currency, the Board of
Governors of the Federal Reserve System, the F ederal Deposit Insurance Corporation, the
Office of Thrift Supervision, the Public Company Accounting ()versight Board, any law
enforcement organization, or any national securities exchange, registered securities
association, registered clearing agency, or the Municipal Securities Rulemaking Board?
No

*2. Are you, or were you at the time you acquired the original information you are
submitting to us, a member, officer, or employee of a foreign government, any political
subdivision, department, agency, or instrumentality of a foreign government, or any other
foreign financial regulatory authority as that term is defined in Section 3(a)(52) of the
Securities Exchange Act of 1934 (15 U.S.C. §78c(a)(52))?

No

*3. Did you acquire the information being submitted to us through the performance of an
engagement required under the federal securities laws by an independent public
accountant?

No

*4. Are you submitting this information pursuant to a cooperation agreement with the SEC
or another agency or organization?

No

*5. Are you a spouse, parent, child, or sibling of a member or employee of the SEC, or do
you reside in the same household as a member or employee of the SEC?

No

*7a. Are you submitting this information before you (or anyone representing you) received
any investigative request, inquiry, or demand that relates to the subject matter of your
submission from the SEC, Congress, or any other federal, state, or local authority, any self
regulatory organization, or the Public Company Accounting Oversight Board?

Yes

 

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*Sa. Are you currently a subject or target of a criminal investigation, or have you been
convicted of a criminal violation, in connection with the information you are submitting to
the SEC?

No

*9a. Did you acquire the information being provided to us from any person described in
questions 1 through 8?
No

10. Identify with particularity any documents or other information in your submission that
you believe could reasonably be expected to reveal your identity, and explain the basis for
your belief that your identity would be revealed if the documents were disclosed to a third
party.

At this point, my identity is known to CTSI, and to any number of organizations involved. l will
stand in testimony of my claims The SEC does need to provide protection, as I’ve had a number
of threats & legal actions against my person, safety, and well being!

*I declare under penalty of perjury under the laws of the United States that the
information contained in this submission is true, correct, and complete to the best of my
knowledge, information, and belief. l fully understand that I may be subject to prosecution
and ineligible for a whistleblower award if, in my submission of information, my other
dealings with the SEC, or my dealings with another authority in connection with a related
action, I knowingly and willfully make any false, fictitious or fraudulent statements or
representations or use any false writing or document knowing that the writing or
document contains any false, fictitious or fraudulent statement or entry.

Agree

Whistleblower Declarations

*l. Are you, or were you at the time you acquired the original information you are
submitting to us, a member, officer, or employee of the Department of Justice, the
Securities and Exchange Commission, the Comptroller of the Currency, the Board of
Governors of the Federal Reserve System, the Federal Deposit Insurance Corporation, the
Office of Thrift Supervision, the Public Company Accounting Oversight Board, any law
enforcement organization, or any national securities exchange, registered securities
association, registered clearing agency, or the Municipal Securities Rulemaking Board?
No

*2.. Are you, or were you at the time you acquired the original information you are
submitting to us, a member, officer, or employee of a foreign government, any political
subdivision, department, agency, or instrumentality of a foreign government, or any other
foreign financial regulatory authority as that term is defined in Section 3(a)(52) of the
Securities Exchange Act of 1934 (15 U.S.C. §78c(a)(52))?

No

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*3. Did you acquire the information being submitted to us through the performance of an
engagement required under the federal securities laws by an independent public
accountant?

No

*4. Are you submitting this information pursuant to a cooperation agreement with the SEC
or another agency or organization?

No

*5. Are you a spouse, parent, child, or sibling of a member or employee of the SEC, or do
you reside in the same household as a member or employee of the SEC?

No

*7a. Are you submitting this information before you (or anyone representing you) received
any investigative request, inquiry, or demand that relates to the subject matter of your
submission from the SEC, Congress, or any other federal, state, or local authority1 any self
regulatory organization, or the Public Company Accounting 0versight Board‘.’

Yes

*Sa. Are you currently a subject or target of a criminal investigation, or have you been
convicted of a criminal violation, in connection with the information you are submitting to
the SEC?

No

*9a. Did you acquire the information being provided to us from any person described in
questions 1 through 8?
No

10. Identify with particularity any documents or other information in your submission that
you believe could reasonably be expected to reveal your identity, and explain the basis for
your belief that your identity would be revealed if the documents were disclosed to a third
party.

I am the spouse & partner of Steven Duane Curry, and I arn aware of this matter, as I, too, am a
crime victim of CTSI, and those they provide protection services for.

*I declare under penalty of perjury under the laws of the United States that the
information contained in this submission is true, correct, and complete to the best of my
knowledge, information, and belief`. I fully understand that I may be subject to prosecution
and ineligible for a whistleblower award if, in my submission of information, my other
dealings with the SEC, or my dealings with another authority in connection with a related
action, I knowingly and willfully make any false, fictitious or fraudulent statements or
representations or use any false writing or document knowing that the writing or
document contains any false, fictitious or fraudulent statement or entry.

Agree

